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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :       No. 1:21cr-00026-CRC
                                         :
CHRISTOPHER ALBERTS,                     :
    Defendant.                           :


            MOTION STRIKE APPEARANCE OF ATTORNEY
       ALLEN H. ORENBERG AND TO VACATE CJA APPOINTMENT

      COMES NOW attorney Allen H. Orenberg and respectfully moves this Court to

strike his appearance and to vacate the Criminal Justice Act appointment thereunder.

      As grounds, the following is stated:

      1.       On September 8, 2021, undersigned counsel entered his appearance on

behalf of defendant, pursuant to the Criminal Justice Act. (Doc. 26)

      2.       On February 10, 2022, attorney Kenneth Ferguson entered his

appearance as counsel on behalf of defendant Christopher Alberts in the above-

captioned criminal cause. (Doc. 39)

      3.       On the date/time of the filing of this Motion, counsel will forward a copy

of this Motion to defendant Christopher Alberts.




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      WHEREFORE, for the foregoing reasons and such other reasons which may

appear just and proper, undersigned counsel respectfully moves this Court to strike

counsel’s appearance in case no. 1:21cr-00026-CRC, and to vacate the Criminal Justice

Act appointment thereunder.



                                       Respectfully Submitted,




                                       Allen H. Digitally     signed by
                                                     Allen H. Orenberg

                                       Orenberg      Date: 2022.02.10
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                                       ____________________________
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Dated: February 10, 2022




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